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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                :           CIVIL ACTION
WILLIAM F. WALKER
                                                :
      v.
                                                :
                                                            No. 10-3907
NCO FINANCIAL SYSTEMS, INC.                     :


                          NOTICE OF ARBITRATION HEARING

               Please take note that the above-captioned civil action case has been scheduled for

ARBITRATION at 9:30 am on Wednesday, February 9, 2011. PLEASE NOTE THAT THIS

ARBITRATION HEARING WILL BE HELD IN THE JAMES A. BYRNE U.S.

COURTHOUSE, 601 MARKET ST., PHILADELPHIA, PA 19106. REPORT TO ROOM

2609 FOR YOUR ROOM ASSIGNMENT. NOTE: Arbitrators shall not participate in settlement

discussions.

                                                            Michael E. Kunz
                                                            Clerk of Court


                                                            By: /s/Janet Vecchione
                                                            Janet Vecchione
                                                            Deputy Clerk
                                                            Phone:267-299-7074

Date:September 9, 2010

Copies:        Courtroom Deputy to Judge J. Curtis Joyner
               Docket Clerk - Case File

               Counsel:              C. Kimmel, Esq.
                                     R. Enders, Esq.




ARB2.FRM
